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Exhibit 3
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FREEMAN MATHIS & GARY up

Attorneys at Law

 

 

60 State Street Thomas G. Hay

Suite 600 Associate
Boston, MA 02109-1800

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June 26, 2020
VIA CERTIFIED MAIL
RETURN RECEIPT REQUESTED

William Moses
70 Pacific Street #491B
Cambridge, MA 02139

Re: James Koppel v. William Moses
Civil Action No: 2081-CV-00941

Mr. Moses:

In connection with the above-referenced matter, please find the following:
- Request by Plaintiff James Koppel for Entry of Default.

Thank you for your attention to this matter.

Very truly yours,

Th Aly —

GE Paul G. Boylan, Esq.

CA|CT|FL|GA|KY|MA|NJ|NY|PA
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COMMONWEALTH OF MASSACHUSETTS

MIDDLESEX SUPERIOR COURT DEPARTMENT

 

JAMES KOPPEL,
Plaintiff,
Civil Action No: 2081-CV-0094 1

V.

WILLIAM MOSES,

Defendant.

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Request By Plaintiff for Entry of Default
Pursuant to Mass. R. Civ. P. 55, Plaintiff James Koppel (“Koppel”) requests this Court
enter a default as to defendant William Moses (“Moses”) for failure to plead or otherwise defend
in response to the Complaint in these proceedings pursuant to Rule 55 of the Massachusetts Rules
of Civil Procedure. In support of this Request Koppel by counsel states:
ls This case arises out of damaging defamatory communications, interference with
advantageous relations and ongoing reputational and professional damages to Koppel.
2 Koppel commenced this civil action on or about April 13, 2020.
B2 The appointed special process server, Quikserv Allstate Process Servers, served
Moses with the Complaint on May 4, 2020. See Return of Service filed May 6, 2020, attached
as Exhibit 1.
4, Pursuant to Mass. R. Civ. P. 12(a) Moses was required to respond to the Complaint

within 20 days of service or by May 24, 2020.
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5. As of the date of this Request, Moses has failed to respond to the Complaint. More
than 33 days have passed after the deadline. See Docket Sheet.

6. Pursuant to Mass. R. Civ. P. 55(a), Plaintiff requests the clerk enter a default of as

to defendant William Moses.

WHEREFORE, Plaintiff James Koppel respectfully requests that this Court award him the

following relief:
A. Grant James Koppel’s Request for Entry of Default;
B. Enter the default of the defendant, William Moses, in these proceedings; and

C. Award James Koppel such further relief as this Court deems appropriate.

Respectfully submitted,
JAMES KOPPEL,
By his attorneys,

/S/ Paul G. Boylan
Paul G. Boylan, BBO 052320
Thomas Hay, BBO 703481
Freeman Mathis & Gary, LLP
60 State Street, 6" Floor, Suite 600
Boston, Massachusetts 02109
pboylan@fmglaw.com
thay@fmglaw.com
(617) 963-5978

Date: 06/26/2020

Certificate of Service

The undersigned as counsel of record hereby states that he or she on the date listed served
a copy of the foregoing document by first-class mail postage prepaid on the following persons:

William Moses

70 Pacific Street #491B
Cambridge, Massachusetts 02139

Dated: 06/26/2020 /S/ Paul G. Boylan
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Exhibit 1
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MAY 4, 2020
RETURN OF SERVICE
I this day SERVED the within named WILLIAM MOSES
by (2) ATTEMPTS. COPY LEFT POSTED AT DOOR.

SECOND COPY MAILED

X = leaving at last and usual place of abode, to wit:
No. 70 PACIFIC ST #491B
in the city/town of CAMBRIDGE, an attested copy of the SUMMONS; COMPLAINT; CIVIL

ACTION COVER SHEET; REQUESTS FOR PRODUCTION OF DOCUMENTS BY JAMES
KOPPEL WITH MOTION FOR SPECIAL PROCESS SERVER

Service andtravel % 56

Process Server/

 
